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© Exhibit 1 (to Order)

[Engagement Letter]

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SOLIC Capital Advisors, LLC

1603 Orrington Avenue, Suite 1600
OLIC Evanston, Illinois 60201

847.583.1619 Phone

847.583.1426 Fax

December 18, 2014

Personal and Confidential

The Honorable Donald L. Evans
Executive Chairman

Board of Directors

Energy Future Holdings Corp.
1601 Bryan St., 41st Floor
Dallas, Texas 75201
dle@donevans34.com

Billie I. Williamson

Director

Board of Directors

Energy Future Holdings Corp.
1601 Bryan St., 41st Floor

Dallas, Texas 75201
billie. williamson@forresterco.com
Dear Mr. Evans and Ms. Williamson:

Subject to approval of the United States Bankruptcy Court for the District of Delaware (the “Bankruptcy
Court”), this letter confirms the retention of SOLIC Capital Advisors, LLC (“SOLIC”) by Energy Future
Holdings Corp. (the “Company”), nunc pro tunc to December 18, 2014, in accordance with the terms set
forth in this letter, pursuant to which SOLIC will provide to the Company, at the direction of its
disinterested directors, Donald L. Evans and Billie I. Williamson (the “Disinterested Directors”), the
services described below in connection with the Company’s chapter 11 case (the “Case”).

On April 29, 2014 (the “Commencement Date”), the Company commenced its Case by filing a voluntary
petition for relief under chapter 11 title 11 of the United States Code (the “Bankruptcy Code”) in the
Bankruptcy Court. This engagement letter (this “Engagement Letter”), and SOLIC’s obligations and
responsibilities relating to this engagement (the “Engagement”), shall be effective as of December 18,
2014, subject to obtaining Bankruptcy Court approval in this Case; provided, however, that either party
may, in its sole discretion and without any liability arising therefrom, terminate this Engagement in the

event that (a) a final order authorizing the employment of SOLIC as financial advisors for the Company
(the “Order”) is not issued by the Bankruptcy Court in this Case on or before one hundred twenty (120)
days from the date hereof on the terms and conditions set forth herein or on such other terms and
conditions as are satisfactory to SOLIC, or (b) the application of the Company seeking the Order is denied
by the Bankruptcy Court in this Case. In such event, the Company hereby agrees to withdraw, promptly
upon SOLIC’s request, any application filed or to be filed with the Bankruptcy Court to retain SOLIC’s

@ services in fhis Case. :

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Specifically, the terms and conditions of our engagement and the services that it is anticipated that SOLIC

will provide are as follows:

1,

Services. Pursuant to this Engagement, SOLIC will provide a variety of financial advisory and
other services to the Company, at the direction of its Disinterested Directors, in connection with
“Conflict Matters” as defined in and pursuant to the authority delegated to the Disinterested
Directors pursuant to resolutions of the Company’s Board of Directors attached hereto as Exhibit
A (the “Resolutions”), including the determination by the Company’s Disinterested Directors
regarding whether any matter constitutes a Conflict Matter. Such services will include:

(a) Reviewing bid procedures and progress in developing a plan of reorganization;

(b) reviewing inter-company claims between the Company and other affiliates;

(c) reviewing financial elements pertaining to key tax issues,

(d) reviewing financing proposals received to date and future financing needs of the Company;
and

(e) such other matters as may be agreed upon which are consistent with SOLIC’s experience.

It is the parties’ desire that SOLIC rely on the work of the Company’s legal and other financial
advisors to provide the basis of any reviews and analysis provided hereunder unless de novo
analysis is required and approved by the Disinterested Directors. For purposes hereof, “de novo
analysis” shall mean any analysis where SOLIC is required to undertake independent review of
source documentation or data (i.e., documents or data other than actual reports and analyses
prepared by the Company’s other advisors) or the development of new independent analyses as
directed by the Disinterested Directors. For the sake of clarification, any reviews performed by
SOLIC on existing work product produced by the Company’s legal and other financial advisors
will not constitute de novo analysis.

Information. In connection with SOLIC’s activities hereunder, the Company agrees to cooperate
with SOLIC and will use its good faith efforts to furnish to, or cause to be furnished to, SOLIC all
information and data concerning the Company (the “Information”) which SOLIC reasonably
deems appropriate and will use its good faith efforts to assist SOLIC in obtaining access to the
Company's officers, directors, employees and advisors, as necessary

The Company acknowledges and agrees that the Company’s management is responsible for
supplying materially complete and accurate Information, representations, and books and records
upon which we must rely in providing our services to the Company. The Company agrees to
promptly notify SOLIC if the Company believes that any Information which was previously
provided to SOLIC has become materially misleading. The Company acknowledges and agrees
that, in rendering its services hereunder, SOLIC will be using and relying on Information (and
information available from public sources and other sources deemed reliable by SOLIC) without
independent verification thereof or independent appraisal or evaluation of the Company, or any
other party. SOLIC does not assume responsibility for the accuracy or completeness of
Information or any other information regarding the Company. SOLIC will have no obligation to
update any report(s) that it may produce or to revise the information contained therein because
of events and transactions occurring subsequent thereto. It is further understood that any advice
rendered by SOLIC pursuant to its Engagement hereunder, including any advice rendered
during the course of participating in negotiations and meetings with the Company and its
representatives, as well as any written materials provided by SOLIC, are intended solely for the

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benefit and use of the Company, its Disinterested Directors and professionals, and may not be
relied upon by any other person or entity without SOLIC’s prior written consent.

3. Compensation. In consideration of SOLIC’s efforts, SOLIC shall be compensated as follows by
the Company and/or from the Company’s estate (subject to allowance and approval by the
Bankruptcy Court):

- SOLIC will be paid a monthly fixed fee payment of $200,000 (the “Monthly Fee”), via wire
transfer per the wire instructions set forth on Exhibit B attached hereto, with the first payment
(including the pro-rated Monthly Fee for the period December 18 through December 31, 2014 and
any other accrued but unpaid Monthly Fees for periods thereafter) to be made upon the Court's
approval of SOLIC’s retention and, thereafter, in advance on the first day of each month during
the term of our Engagement hereunder. The parties hereto hereby agree that the Monthly Fee
may be reviewed and potentially adjusted prospectively, if appropriate, based upon mutual
agreement, taking into account, among other things, the contribution of SOLIC’s professionals to
the Case, the aggregate work performed over the course of the Engagement, and such other
factors as may be mutually agreed upon, and as approved by the Bankruptcy Court, if necessary.

In addition to the Monthly Fees, if SOLIC is requested by the Company and the Disinterested
Directors, to perform any “de novo analysis” or to provide litigation support or testimony (or
support thereof) in support of any litigation matters, such services will be provided at SOLIC’s
standard billing rates as set forth on Exhibit C pursuant to a budget agreed upon by SOLIC and
the Disinterested Directors on behalf of the Company and any such related fees and expenses will
be subject to Bankruptcy Court approval and be paid in accordance with the following
paragraph.

SOLIC will be reimbursed monthly for all of its reasonable and documented expenses and hourly
fees, if any, related to this Engagement, including travel, document production, reasonable fees
and expenses of our legal counsel (other than the cost of internal legal counsel), including
amounts attributable to our obligation to respond to discovery requests, participate in
depositions or appear in court in connection with services under this Engagement Letter, and
other costs incurred in providing the services hereunder.

SOLIC understands that the Company will seek authorization of the Bankruptcy Court for it to
fulfill its obligations under this Engagement Letter.

The Company has been informed that SOLIC intends to apply for compensation for professional
services to be rendered in connection with this Case and for reimbursement of expenses incurred,
in accordance with applicable provisions of the Bankruptcy Code, the Bankruptcy Rules and the
Local Bankruptcy Rules of the United States Bankruptcy Court for the District of Delaware and
any applicable order of the Bankruptcy Court (the “Payment Rules”). Payment of fees and
reimbursement of expenses will be subject to ultimate allowance and approval by the Bankruptcy
Court. SOLIC will maintain internal time records for all work performed for the Company. The
request for Bankruptcy Court approval of our retention, and the proposed order to be submitted
in connection therewith, shall be provided to SOLIC prior to submission and must be acceptable
to SOLIC in its sole discretion.

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To the extent that, at any time during this Case, the Bankruptcy Court reviews any of the terms of
this Engagement Letter, such review shall be subject to the standard of review of Section 328(a) of
the Bankruptcy Code and the Payment Rules, and not subject to any other standard of review
under Section 330 of the Bankruptcy Code. SOLIC will submit reasonably detailed invoices and
statements of expenses to the Company in accordance with that certain Order Establishing
Professional Interim Compensation Procedures entered in the Case. Because SOLIC does not
ordinarily maintain contemporaneous time records in one-tenth hour (0.1) increments, the
Company agrees to request that SOLIC be excused from compliance with such requirements and
should be required only to maintain time records in half-hour (0.50) increments setting forth, in a
summary format, a description of services rendered by each professional and the amount of time
spent on each date by each such individual in rendering services on behalf of the Company.

In agreeing to these provisions, the Company acknowledges that it believes that our general
restructuring experience and expertise will inure to the benefit of the Company and that the
value to the Company and/or its constituents derives in substantial part from that expertise and
experience and that, accordingly, the structure and amount of fees above are reasonable,
regardless of the number of hours to be expended by our professionals in the performance of the
services to be provided hereunder.

4. Termination. SOLIC’s engagement hereunder may be terminated by either the Company or

SOLIC at any time, with or without cause, upon 30 days’ written notice to the other party;

provided, however, that no such termination will affect SOLIC’s right to expense reimbursement

}@ or the payment of any accrued and unpaid fees pursuant to Section 3 hereof or the Indemnity
Agreement (as defined below), and the provisions related thereto contained in this Engagement

Letter will survive the expiration or termination of this engagement. Furthermore, if the Order is

not obtained, or is later reversed or set aside for any reason, SOLIC may terminate this
Engagement Letter and SOLIC shall be reimbursed for all fees and expenses reasonably incurred
prior to the date of expiration or termination.

5. Collection. In the event SOLIC prevails in any action to enforce collection of amounts due or
other rights under this Engagement Letter, SOLIC’s reasonable legal fees and other collection
costs incurred by SOLIC, plus interest on amounts otherwise due but unpaid at the prime rate
(Bank of America prime) plus 2 percent until paid, shall be paid by the Company and/or the
Company’s estate.

6. Governing Law. This Engagement Letter will be deemed made in New York and will be
governed by the laws of the State of New York. The Company and SOLIC irrevocably submit to
the jurisdiction of the Bankruptcy Court as long as the Case is open, and once the Case is closed,
to any court of the State of New York or the United States District Court for the Southern District
of New York (Manhattan Division), for the purpose of any suit, action or other proceeding arising
out of this Engagement Letter, or any of the agreements or transactions contemplated hereby,
which is brought by or against the Company. Each of the Company and SOLIC hereby
knowingly, voluntarily and irrevocably waives any right it may have to a trial by jury in respect
of any claim based upon, arising out of or in connection with, this Engagement Letter and the
transactions contemplated hereby). SOLIC will act under this Engagement Letter as an
independent contractor with duties solely to the Company. Because we will be acting on the
Company’s behalf in this capacity, it is our practice to receive indemnification. A copy of our

@ standard indemnity form is attached herete as Exhibit D (“Indemnity Agreement”). The terms of

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the Indemnity Agreement are incorporated by reference into this Engagement Letter. In no event
will SOLIC’s liability in connection with this Engagement Letter exceed the total fees paid to
SOLIC hereunder. In no event shall SOLIC, the Company or their respective personnel be liable
for consequential, special, indirect, incidental, punitive or exemplary loss, damage or expense

relating to this Engagement.

7. Successors and Assigns. This Engagement Letter shall be binding upon and inure to the benefit
of the parties hereto, their respective successors and assigns. Neither party may delegate or
assign its rights or obligations under this Engagement Letter without the written consent of the
other party.

8. Review. The services to be provided by SOLIC hereunder will not constitute (a) a fairness or
solvency opinion or (b) a compilation, examination, review or audit of any entity’s information,
financial or otherwise, historical or prospective, as described in the pronouncements on
professional standards issued by the American Institute of Certified Public Accountants. In
addition, SOLIC does not make any predictions or provide any opinions or other assurances
concerning the outcome of future events, including, without limitation, those that pertain to the
operating results of any entity, the achievability of any business plan, the success of any
investment, the recovery of any asset, or the ability to pay any debt. SOLIC reserves the right to
issue a tombstone announcement with respect to SOLIC’s involvement in connection with the
Engagement consistent with the Order.

@ 9. Limitations. This Engagement Letter does not create, and will not be construed as creating, rights
enforceable by any person or entity not a party hereto, except those entitled thereto by virtue of
the Indemnity Agreement. The Company acknowledges and agrees that (a) SOLIC will act as an
independent contractor and is being retained solely to assist the Company and the Disinterested
Directors and, unless separately requested by the Company, that SOLIC is not being retained to
provide a formal opinion as to any possible restructuring or outcome, (b) nothing in this
Engagement Letter or in the nature of services in connection with the Engagement or otherwise

shall be deemed to create a fiduciary duty or fiduciary or agency relationship between SOLIC

and the Company, or any other party, (c) SOLIC is a professional advisor to the Company and is

not and will have no duties or liabilities to the equityholders or creditors of the Company, any
affiliate of the Company or any other person by virtue of this Engagement Letter and the
retention of SOLIC hereunder (other than as set forth herein), all of which duties and liabilities

are hereby expressly waived, and (d) any advice rendered by SOLIC does not constitute a
recommendation to any creditor or stakeholder that such creditor or stakeholder might or should

take in connection with a possible restructuring; provided, however, this clause (d) shall not
apply to the advice rendered by SOLIC to the Disinterested Directors as part of the services
provided under the terms of this Engagement Letter. Neither equityholders nor creditors of the

Company are intended beneficiaries hereunder. The Company recognizes and acknowledges
that by performing the services set forth in this Engagement Letter, SOLIC is not acting in any
management capacity and that Company has not requested SOLIC to make, nor has SOLIC
agreed to make, any business decisions on behalf of the Company. All decisions about the

business of the Company remain the sole responsibility of the Company (and to the extent
applicable, the Disinterested Directors). The Company and each Disinterested Director hereby
expressly acknowledges that SOLIC does not guarantee, warrant, or otherwise provide any
©} assurances that the Company will restructure successfully. SOLIC is not a law, accounting, tax,
or actuarial firm ara will not be providing any legal, accounting, tax advice, or actuarial services

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Energy Future Holdings Corp.
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10.

11.

13.

14.

hereunder. In addition, the Company confirms that it will rely on its own counsel for legal
advice. SOLIC’s services are not designed, nor should they be relied upon, to disclose internal
weaknesses in internal controls, financial statement errors, irregularities, illegal acts or disclosure

deficiencies.

Counterparts. This Engagement Letter, and any modification or amendment thereto, may be
executed in counterparts, each of which will be deemed an original and all of which will
constitute one and the same instrument.

Notices. All correspondence and notices shall be sent to the parties as listed hereafter or to such
other persons or addresses as may be given by one party to the other, and will be deemed
effective the earlier of actual delivery or three days after mailing.

Personal and Confidential

The Honorable Donald L. Evans
Executive Chairman

Energy Future Holdings Corp.
1601 Bryan St., 41st Floor
Dallas, Texas 75201

with a copy to:

General Counsel

Energy Future Holdings Corp.
1601 Bryan St., 41st Floor
Dallas, Texas 75201

Neil F. Luria

Senior Managing Director
SOLIC Capital Advisors, LLC
1603 Orrington Avenue

Suite 1600

Evanston, IL 60201

Entire Agreement. This Engagement Letter is the entire agreement between the parties
pertaining to its or their subject matter and supersedes all prior agreements, representations and
understandings of the parties. No modification of this Engagement Letter shall be binding unless
agreed to in writing by the parties.

Retention Application. The Company agrees to file the necessary retention applications in the
Bankruptcy Court in order to properly retain SOLIC in accordance with the terms set forth in this
letter.

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Energy Future Holdings Corp.
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If this Engagement Letter meets with your approval, please indicate your consent and agreement to be
bound by the terms of this Engagement Letter by executing the attached copy and forwarding it to me.

Very truly yours,

SOLIC CAPITAL ADVISORS, LLC

By: /s/ Neil F. Luria
Neil F. Luria
Senior Managing Director

ACKNOWLEDGED AND AGREED:

ENERGY FUTURE HOLDINGS CORP.

By: /s/ Donald L. Evans
Donald L. Evans
Executive Chairman
Board of Directors
Energy Future Holdings Corp.

Date: December 18, 2014

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Exhibit “A” (to Engagement Letter)

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The following recitals and resolutions supplement the Board of Directors Resolutions dated as of
November 7, 2014 (“November 7th Resolutions”) and, in the event of any inconsistency, these
resolutions shall supersede and control.

WHEREAS, EFH and certain of its direct and indirect subsidiaries (excluding Oncor Electric Delivery
Holdings Company LLC and its subsidiaries), including TCEH (the “Debtors”) on April 29, 2014,
filed voluntary petitions for relief under chapter 11 of title 11 of the United States Code (“Chapter 11
Case”) in the Bankruptcy Court for the District of Delaware (“Bankruptcy Court”);

WHEREAS, the members of the Board of Directors of EFH (“Board”) having relationships or interests
with other affiliated or related companies and their direct or indirect equity holders and other
material relationships have disclosed certain facts that they believe to be material to the Board;

WHEREAS, as described in the material presented and reviewed by the Board and based on a review
of the known facts and circumstances, the Board has determined and confirmed by the November 7th
Resolutions that Donald L. Evans and Billie J. Williamson are the only current members of the Board
that are disinterested with respect to any matter pertaining to the Chapter 11 Case on which an actual
conflict exists between EFH, on the one hand, and any other Debtor, on the other hand (“Conflict
Matters”), and were designated the Disinterested Directors (“Disinterested Directors”) as set forth in
Stipulation and Agreed Order Regarding a Protocol for Certain Case Matters, approved by the Bankruptcy
@ Court on September 16, 2014 (“Stipulation”),

WHEREAS, the members of the Board considered the Stipulation related to, among other things, the
authority of the Disinterested Directors to retain independent legal counsel and other advisors under
certain circumstances,

WHEREAS, the Board resolved by the November 7th Resolutions to delegate the authority to the
Disinterested Directors to seek and retain, at EFH’s sole expense, independent legal counsel and such
other advisors (“Independent Advisors”) as the Disinterested Directors deem necessary to represent
and advise EFH, reporting to the Disinterested Directors, on the Conflict Matters;

WHEREAS, the Disinterested Directors interviewed and engaged certain Independent Advisors
effective as of November 19, 2014 to represent and advise EFH, and reporting solely to the
Disinterested Directors, as set forth herein; and

WHEREAS, pursuant to the Stipulation and Section 21.416 of the Texas Business Organizations Code,
the members of the Board desire to delegate to the Disinterested Directors certain rights, authority,
and powers in connection with Conflict Matters, among other matters set forth herein;

NOW, THEREFORE, BE IT,

' RESOLVED that, to the fullest extent permitted by applicable law, the Board hereby delegates to the
Disinterested Directors the authority to review and act upon (as set forth herein) any Conflict
Matters; and further

RESOLVED that, to the fullest extent permitted by applicable law, the Board hereby delegates to the
Disinterested Directors the authority to investigate and determine whether any matter constitutes a
© Conflict Matter, in the exercise of their business judgment and with the advice of the Independent
Advisors, and any such deterrmmation shall be binding on EFH and EFH’s subsidiaries (other than
Energy Future Intermediate Hotding Company LLC and its direct and indirect subsidiaries and

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Energy Future Holdings Corp.
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Energy Future Competitive Holdings Company LLC and its direct and indirect subsidiaries (the
“Excluded Subsidiaries”)); and further

RESOLVED that, to the fullest extent permitted by applicable law, the Board hereby delegates to the
Disinterested Directors the authority to make all decisions, and to implement or direct the
implementation of all such decisions, in each case on EFH’s behalf, with respect to Conflict Matters as
the Disinterested Directors deem appropriate, in the exercise of their business judgment and with the
advice of the Independent Advisors or others with whom the Disinterested Directors determine it is
appropriate or necessary to consult, and to act on behalf of and bind EFH in connection therewith,
including taking action on EFH’s behalf, as the direct and indirect holder of 100% of the equity
interests in its subsidiaries, causing such subsidiaries (other than the Excluded Subsidiaries) to abide
by and implement the decisions and actions of the Disinterested Directors with respect to Conflict
Matters and the Disinterested Directors’ determination of whether a matter constitutes a Conflict
_ Matter; and further

RESOLVED that the Disinterested Directors will update the Board at board meetings on the status of
their (i) review of and decisions on whether any matter constitutes a Conflict Matter, and (ii) review
of and decisions on Conflict Matters, in each case in the manner that the Disinterested Directors
determine is appropriate and necessary to fulfill their duties and obligations as the Disinterested
Directors, taking into account the confidentiality or privilege of the Disinterested Directors’ work and
the advice of the Independent Advisors; and further

RESOLVED that EFH shall, as the direct and indirect holder of 100% of the equity interests in its
subsidiaries, direct and cause each of such subsidiaries (other than the Excluded Subsidiaries) to
@ abide by and comply with these resolutions; and further

RESOLVED that the officers, employees, advisors and agents of EFH (collectively, the “Authorized
Persons”), acting alone or with one or more other Authorized Persons, be, and hereby are, directed to
furnish to the Disinterested Directors and the Independent Advisors all information as the
Disinterested Directors or the Independent Advisors may request, in a manner that shall not effect a
waiver of any applicable privilege, and to cooperate with the Disinterested Directors and the
Independent Advisors in all respects; and further

RESOLVED that any Authorized Person, acting alone or with one or more other Authorized Persons
be, and hereby are, authorized, empowered and directed to implement any decision made by the
Disinterested Directors in respect of a Conflict Matter on behalf of EFH as directed by the
Disinterested Directors; provided that the Disinterested Directors retain the right to implement any
such decision on behalf of EFH and its subsidiaries (other than the Excluded Subsidiaries) themselves
or through the Independent Advisors; and further

RESOLVED that any Authorized Person, acting alone or with one or more other Authorized Persons
be, and they hereby are, authorized, empowered and directed to take any and all action that they
deem necessary or proper to assist the Disinterested Directors in carrying out the foregoing, in each
case as requested by and under the direction of the Disinterested Directors; and further

RESOLVED that the Disinterested Directors shall control any attorney-client, work product, or other
privilege belonging to EFH in connection with the Independent Advisors or their work or privileged
communications on the Conflict Matters and on whether any matter constitutes a Conflict Matter;
and further

RESOLVED that each member of the Board has agreed and hereby agrees that he or she shall not
have access to, and shall not seek access to, and hereby directs that each Authorized Person shall not
@ have aceess to and shall not seek access to, the work or privileged material of the Independent

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Energy Future Holdings Corp.
December 18, 2014

Advisors on the Conflict Matters or on whether any matter constitutes a Conflict Matter, except as
permitted by the Disinterested Directors; and further

RESOLVED that the Disinterested Directors be, and hereby are, authorized to take all such further
action, at EFH’s expense, as the Disinterested Directors shall deem necessary, proper or advisable
consistent with these resolutions or in order to carry out fully the intent and purposes of these
resolutions; and further

RESOLVED that all actions previously done or approved, or caused to be done or approved, by the
Disinterested Directors or the Authorized Persons, including the retention of Independent Advisors,
in each case only to the extent consistent with these resolutions, or to otherwise carry out the intent of
these resolutions, be and hereby are approved, adopted, confirmed and ratified in all respects.

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Energy Future Holdings Corp.
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Exhibit “B” (to Engagement Letter)
Wiring Instructions

Please direct wire to:

Account Name: SOLIC Capital Advisors, LLC

Account Number: 3800869411

Bank: Northern Trust Bank

Address: 50 S. LaSalle, Chicago, IL 60675

ABAS#: 071000152

SWIFT: CNORUS44
Beneficiary Name: SOLIC Capital Advisors, LLC

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Exhibit “C” (to Engagement Letter)

Standard Hourly Rates

Senior Managing Directors $750-895/hr
Managing Directors $695-825/hr
Directors $550-695/hr
Associate Directors $450-550/hr
Managing Consultants $350-450/hr
Consultants/Associates $245-350/hr
Paraprofessionals $95-125/hr

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Energy Future Holdings Corp.
December 18, 2014

Exhibit “D” (to Engagement Letter)

December 18, 2014

SOLIC Capital Advisors, LLC
1603 Orrington Avenue

Suite 1600

Evanston, IL 60201

Ladies and Gentlemen:

This agreement will confirm that Energy Future Holdings Corp. (the “Company”), has engaged SOLIC
Capital Advisors, LLC (“SOLIC”) to advise and assist it in connection with the matters referred to in our
engagement letter, dated of even date herewith (the “Engagement Letter”). Capitalized terms used
herein without definition shall have the meanings ascribed to them in the Engagement Letter. In
connection with the terms of the Engagement Letter (the “Engagement”), the Company agrees to
indemnify and hold harmless SOLIC and its affiliates and their respective members, officers, directors,
employees and agents and each other person, if any, controlling SOLIC or any of its affiliates and their
respective successors, assigns, independent contractors, agents, heirs and personal representatives (each
referred to herein as a ” SOLIC Indemnified Person”) to the fullest extent permitted by law from and
against any losses, claims, damages, obligations, penalties, judgments, awards, costs, disbursements or
liabilities, including amounts paid in settlement (collectively, “Losses”), based upon, related to, arising
out of or in connection the Engagement and will reimburse each SOLIC Indemnified Person for all
expenses (including fees and expenses of counsel) (“Expenses”) as they are incurred in connection with
investigating, preparing, pursuing or defending any action, claim, suit, investigation, or proceeding
related to, arising out of or in connection with the Engagement, whether or not pending or threatened
and whether or not any SOLIC Indemnified Person is a party. Notwithstanding the foregoing, (i) in no
event shall the Company be responsible for any Losses or Expenses that arise out of or in connection with
the Engagement to the extent such Losses or Expenses are finally judicially determined to have resulted
from the willful misconduct, bad faith or gross negligence of SOLIC or any other SOLIC Indemnified
Person and (ii) if any SOLIC Indemnified Person to whom such Expenses have been advanced shall be
determined pursuant to clause (i) to not be eligible for reimbursement of such Expenses, such SOLIC
Indemnified Person shall promptly repay such expenses to the Company. If any litigation, investigation
or proceeding is commenced as to which SOLIC proposes to demand indemnification, SOLIC will notify
the Company with reasonable promptness; provided, however, that any failure by SOLIC to notify the
Company will relieve the Company from their obligations hereunder only to the extent the Company
have been materially prejudiced by such failure or delay.

The Company will, if requested by any SOLIC Indemnified Party, assume the defense of any proceeding
in respect of which indemnity may be sought hereunder, including the employment of counsel
reasonably satisfactory to SOLIC and the payment of the fees and expenses of such counsel, in which
event, except as provided below, the Company shall not be liable for the fees and expenses of any other
counsel retained by any SOLIC Indemnified Party in connection with such proceeding. In any such
proceeding the defense of which the Company shall have so assumed, any SOLIC Indemnified Party shall
have the right to participate in such Proceeding and to retain its own counsel, but the fees and expenses
of such counsel shall be at the expense of such SOLIC Indemnified Party unless (i) the Company and such

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SOLIC Indemnified Party shall have mutually agreed in writing to the retention of such counsel or (ii) the
named parties to any such proceeding (including any impleaded parties) include such SOLIC
Indemnified Party and representation of the Company and such SOLIC Indemnified Party by the same
counsel would, in the opinion of counsel to such SOLIC Indemnified Party, be inappropriate due to
actual or potential conflicts of interests between the Company and such SOLIC Indemnified Party,
including situations in which there are one or more legal defenses available to the SOLIC Indemnified
Party that are different from or additional to those available to the Company. The Company shall not be
liable for any settlement of any proceeding effected without its written consent, such consent not to be
unreasonably withheld, but if settled with such consent or if there is a final judgment against an SOLIC
Indemnified Party, the Company agrees to indemnify the SOLIC Indemnified Party from and against any
Loss by reason of such settlement or judgment.

If, for any reason, the foregoing indemnification is unavailable to any of the SOLIC Indemnified Parties or
is insufficient to hold them harmless in respect of any Losses or Expenses, then the Company will
contribute to the amount paid or payable by any of the SOLIC Indemnified Parties as a result of such
Losses and Expenses in such proportion as is appropriate to reflect the relative benefits (or anticipated
benefits) to the Company and the Disinterested Directors on the one hand and the SOLIC Indemnified
Parties on the other hand, but also the relative fault of the Company and the Disinterested Directors, and
their shareholders, members, agents and advisers (other than SOLIC) on the one hand and the SOLIC
Indemnified Parties on the other hand, as well as any other relevant equitable considerations. The
relative benefits received (or anticipated to be received) by the Company and the Disinterested Directors
on the one hand and by the SOLIC Indemnified Parties on the other hand will be deemed to be in the
same proportion as such benefit bears to the total fees paid to SOLIC pursuant to the Engagement Letter.
The relative fault of any party or other person will be determined by reference to such party’s or person’s
knowledge, access to information and opportunity to prevent or correct any misstatement, omission,
misconduct or breach of duty. In no event will the amount required to be contributed by the SOLIC
Indemnified Parties hereunder exceed the total amount of fees paid to SOLIC pursuant to the
Engagement Letter. You and we agree that it would not be just and equitable if contribution were
determined by pro rata allocation or by any other method of allocation which does not take account of the
equitable considerations referred to above.

The reimbursement, indemnity and contribution obligations of the Company hereunder will (i) be in
addition to any liability which the Company may otherwise have, (ii) survive the completion or
termination of SOLIC’s engagement under the Engagement Letter and (iii) shall be binding upon any
successors and assigns of the Company.

The Company agree that without the prior written consent of SOLIC, the Company will not consent,
settle, compromise, consent to the entry of any judgment in or otherwise seek to terminate any action,
claims, suit or proceeding in respect of which indemnification may be sought hereunder (whether or not
any SOLIC Indemnified Person is a party thereto) unless (i) such settlement, compromise, consent or
termination includes an unconditional release of each SOLIC Indemnified Person from all claims and
liabilities arising out of such action, claim, suit or proceeding and (ii) there is no statement in connection
therewith as to an admission of fault, culpability or failure to act by or on behalf of any SOLIC
Indemnified Party.

The provisions of this agreement shall apply to the Engagement and any modification thereof and shall
remain in full force and effect regardless of any termination or the completion of your services under the
Engagement Letter.

This agreement will be deemed made in New York. The validity and interpretation of this agreement

will be governed by, and construed and enforced in accordance with, the laws of the State of New York
applicable to agreements made and to be fully performed therein (excluding the conflicts of laws rules).

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So long as the Case (as that term is defined in the Engagement Letter) is open, the Company and SOLIC
irrevocably submit to the jurisdiction of the Bankruptcy Court with respect to any suit, action or
proceeding arising out of the Engagement. However, once the Case is closed, the Company irrevocably
submit to the jurisdiction of any court of the State of New York or the United States District Court of the
Southern District of the State of New York (Manhattan Division) for the purpose of any suit, action or
other proceeding arising out of this agreement which is brought by or against the Company. Each of the
Company and SOLIC hereby knowingly, voluntarily and irrevocably waives any right it may have to a
trial by jury in respect of any claim based upon, arising out of or in connection with this agreement.

Very truly yours,

ENERGY FUTURE HOLDINGS CORP.

By: /s/ Donald L. Evans
Name: Donald L. Evans
Title: Executive Chairman
Board of Directors
Energy Future Holdings Corp.

@ Date: December 18, 2014

Accepted and agreed to:

SOLIC CAPITAL ADVISORS, LLC

By: /s/ Neil F. Luria
Neil F. Luria
Senior Managing Director

Date: December 18, 2014

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1603 Orrington Avenue, Suite 1600
Evanston, Illinois 60201
847.583.1619 Phone
847.583.1426 Fax

December 18, 2014

Personal and Confidential

The Honorable Donald L. Evans
Executive Chairman

Board of Directors

Energy Future Holdings Corp.
1601 Bryan St., 41st Floor
Dallas, Texas 75201
dle@donevans34.com

Billie I. Williamson

Director

Board of Directors

Energy Future Holdings Corp.
1601 Bryan St., 41st Floor

Dallas, Texas 75201

billie. williamson@forresterco.com

Dear Mr. Evans and Ms. Williamsen:

Subject to approval of the United States Bankruptcy Court for the District of Delaware (the “Bankruptcy
Court”), this letter confirms the retention of SOLIC Capital Advisors, LLC (“SOLIC”) by Energy Future
Holdings Corp. (the “Company”), nunc pro tunc to December 18, 2014, in accordance with the terms set
forth in this letter, pursuant to which SOLIC will provide to the Company, at the direction of its
disinterested directors, Donald L. Evans and Billie I. Williamson (the “Disinterested Directors”), the
services described below in connection with the Company’s chapter 11 case (the “Case”).

On April 29, 2014 (the “Commencement Date”), the Company commenced its Case by filing a voluntary
petition for relief under chapter 11 title 11 of the United States Code (the “Bankruptcy Code”) in the
Bankruptcy Court. This engagement letter (this “Engagement Letter”), and SOLIC’s obligations and
responsibilities relating to this engagement (the “Engagement”), shall be effective as of December 18,
2014, subject to obtaining Bankruptcy Court approval in this Case; provided, however, that either party
may, in its sole discretion and without any liability arising therefrom, terminate this Engagement in the
event that (a) a final order authorizing the employment of SOLIC as financial advisors for the Company
(the “Order”) is not issued by the Bankruptcy Court in this Case on or before one hundred twenty (120)
days from the date hereof on the terms and conditions set forth herein or on such other terms and
conditions as are satisfactory to SOLIC, or (b) the application of the Company seeking the Order is denied

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by the Bankruptcy Court in this Case. In such event, the Company hereby agrees to withdraw, promptly
upon SOLIC’s request, any application filed or to be filed with the Bankruptcy Court to retain SOLIC’s

services in this Case.

Specifically, the terms and conditions of our engagement and the services that it is anticipated that SOLIC
will provide are as follows:

1. Services. Pursuant to this Engagement, SOLIC will provide a variety of financial advisory and
other services to the Company, at the direction of its Disinterested Directors, in connection with
“Conflict Matters” as defined in and pursuant to the authority delegated to the Disinterested
Directors pursuant to resolutions of the Company’s Board of Directors attached hereto as Exhibit
A (the “Resolutions”), including the determination by the Company’s Disinterested Directors
regarding whether any matter constitutes a Conflict Matter. Such services will include:

(a) Reviewing bid procedures and progress in developing a plan of reorganization,

(b) reviewing inter-company claims between the Company and other affiliates;

(c)_ reviewing financial elements pertaining to key tax issues;

(d) reviewing financing proposals received to date and future financing needs of the Company;
and

(e) such other matters as may be agreed upon which are consistent with SOLIC’s experience.

It is the parties’ desire that SOLIC rely on the work of the Company’s legal and other financial
advisors to provide the basis of any reviews and analysis provided hereunder unless de novo
analysis is required and approved by the Disinterested Directors. For purposes hereof, “de novo
analysis” shall mean any analysis where SOLIC is required to undertake independent review of
source documentation or data (i.e., documents or data other than actual reports and analyses
prepared by the Company’s other advisors) or the development of new independent analyses as
directed by the Disinterested Directors. For the sake of clarification, any reviews performed by
SOLIC on existing work product produced by the Company’s legal and other financial advisors
will not constitute de novo analysis.

2. Information. In connection with SOLIC’s activities hereunder, the Company agrees to cooperate
with SOLIC and will use its good faith efforts to furnish to, or cause to be furnished to, SOLIC all
information and data concerning the Company (the “Information”) which SOLIC reasonably
deems appropriate and will use its good faith efforts to assist SOLIC in obtaining access to the
Company’s officers, directors, employees and advisors, as necessary

The Company acknowledges and agrees that the Company’s management is responsible for
supplying materially complete and accurate Information, representations, and books and records
upon which we must rely in providing our services to the Company. The Company agrees to
promptly notify SOLIC if the Company believes that any Information which was previously
provided to SOLIC has become materially misleading. The Company acknowledges and agrees
that, in rendering its services hereunder, SOLIC will be using and relying on Information (and
information available from public sources and other sources deemed reliable by SOLIC) without
independent verification thereof or independent appraisal or evaluation of the Company, or any
other party. SOLIC does not assume responsibility for the accuracy or completeness of
Information or any other information regarding the Company. SOLIC will have no obligation to
update any report(s) that it may produce or to revise the information contained therein because

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of events and transactions occurring subsequent thereto. It is further understood that any advice
rendered by SOLIC pursuant to its Engagement hereunder, including any advice rendered
during the course of participating in negotiations and meetings with the Company and its
representatives, as well as any written materials provided by SOLIC, are intended solely for the
benefit and use of the-Company, its Disinterested Directors and professionals, and may not be
relied upon by any other person or entity without SOLIC’s prior written consent.

3. Compensation. In consideration of SOLIC's efforts, SOLIC shall be compensated as follows by
the Company and/or from the Company’s estate (subject to allowance and approval by the
Bankruptcy Court):

SOLIC will be paid a monthly fixed fee payment of $200,000 (the “Monthly Fee”), via wire
transfer per the wire instructions set forth on Exhibit B attached hereto, with the first payment
(including the pro-rated Monthly Fee for the period December 18 through December 31, 2014 and
any other accrued but unpaid Monthly Fees for periods thereafter) to be made upon the Court’s
approval of SOLIC’s retention and, thereafter, in advance on the first day of each month during
the term of our Engagement hereunder. The parties hereto hereby agree that the Monthly Fee
may be reviewed and potentially adjusted prospectively, if appropriate, based upon mutual
agreement, taking into account, among other things, the contribution of SOLIC’s professionals to
the Case, the aggregate work performed over the course of the Engagement, and such other
factors as may be mutually agreed upon, and as approved by the Bankruptcy Court, if necessary.

} In addition to the Monthly Fees, if SOLIC is requested by the Company and the Disinterested
Directors, to perform any “de novo analysis” or to provide litigation support or testimony (or
support thereof) in support of any litigation matters, such services will be provided at SOLIC’s
standard billing rates as set forth on Exhibit C pursuant to a budget agreed upon by SOLIC and
the Disinterested Directors on behalf of the Company and any such related fees and expenses will
be subject to Bankruptcy Court approval and be paid in accordance with the following
paragraph.

SOLIC will be reimbursed monthly for all of its reasonable and documented expenses and hourly
fees, if any, related to this Engagement, including travel, document production, reasonable fees
and expenses of our legal counsel (other than the cost of internal legal counsel), including
amounts attributable to our obligation to respond to discovery requests, participate in
depositions or appear in court in connection with services under this Engagement Letter, and
other costs incurred in providing the services hereunder.

SOLIC understands that the Company will seek authorization of the Bankruptcy Court for it to
fulfill its obligations under this Engagement Letter.

The Company has been informed that SOLIC intends to apply for compensation for professional
services to be rendered in connection with this Case and for reimbursement of expenses incurred,
in accordance with applicable provisions of the Bankruptcy Code, the Bankruptcy Rules and the
Local Bankruptcy Rules of the United States Bankruptcy Court for the District of Delaware and
any applicable order of the Bankruptcy Court (the “Payment Rules”). Payment of fees and
reimbursement of expenses will be subject to ultimate allowance and approval by the Bankruptcy
© Court. SOLIC will maintain internal time records for all work performed for the Company. The
request for Bankruptcy Court approval of our retention, and the proposed order to be submitted

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in connection therewith, shall be provided to SOLIC prior to submission and must be acceptable
to SOLIC in its sole discretion.

To the extent that, at any time during this Case, the Bankruptcy Court reviews any of the terms of
this Engagement Letter, such review shall be subject to the standard of review of Section 328(a) of
the Bankruptcy Code and the Payment Rules, and not subject to any other standard of review
under Section 330 of the Bankruptcy Code. SOLIC will submit reasonably detailed invoices and
statements of expenses to the Company in accordance with that certain Order Establishing
Professional Interim Compensation Procedures entered in the Case. Because SOLIC does not
ordinarily maintain contemporaneous time records in one-tenth hour (0.1) increments, the
Company agrees to request that SOLIC be excused from compliance with such requirements and
should be required only to maintain time records in half-hour (0.50) increments setting forth, in a
summary format, a description of services rendered by each professional and the amount of time
spent on each date by each such individual in rendering services on behalf of the Company.

In agreeing to these provisions, the Company acknowledges that it believes that our general
restructuring experience and expertise will inure to the benefit of the Company and that the
value to the Company and/or its constituents derives in substantial part from that expertise and
experience and that, accordingly, the structure and amount of fees above are reasonable,
regardless of the number of hours to be expended by our professionals in the performance of the
services to be provided hereunder.

Termination. SOLIC’s engagement hereunder may be terminated by either the Company or
SOLIC at any time, with or without cause, upon 30 days’ written notice to the other party;
provided, however, that no such termination will affect SOLIC’s right to expense reimbursement
or the payment of any accrued and unpaid fees pursuant to Section 3 hereof or the Indemnity
Agreement (as defined below), and the provisions related thereto contained in this Engagement
Letter will survive the expiration or termination of this engagement. Furthermore, if the Order is

not obtained, or is later reversed or set aside for any reason, SOLIC may terminate this
Engagement Letter and SOLIC shall be reimbursed for all fees and expenses reasonably incurred
prior to the date of expiration or termination.

Collection. In the event SOLIC prevails in any action to enforce collection of amounts due or
other rights under this Engagement Letter, SOLIC’s reasonable legal fees and other collection
costs incurred by SOLIC, plus interest on amounts otherwise due but unpaid at the prime rate
(Bank of America prime) plus 2 percent until paid, shall be paid by the Company and/or the
Company’s estate.

Governing Law. This Engagement Letter will be deemed made in New York and will be
governed by the laws of the State of New York. The Company and SOLIC irrevocably submit to
the jurisdiction of the Bankruptcy Court as long as the Case is open, and once the Case is closed,
to any court of the State of New York or the United States District Court for the Southern District
of New York (Manhattan Division), for the purpose of any suit, action or other proceeding arising
out of this Engagement Letter, or any of the agreements or transactions contemplated hereby,
which is brought by or against the Company. Each of the Company and SOLIC hereby
knowingly, voluntarily and irrevocably waives any right it may have to a trial by jury in respect
of any claim based upon, arising out of or in connection with, this Engagement Letter and the
transactions contemplated hereby). SOLIC will act under this Engagement Letter as an

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independent contractor with duties solely to the Company. Because we will be acting on the
Company’s behalf in this capacity, it is our practice to receive indemnification. A copy of our
standard indemnity form is attached hereto as Exhibit D (“Indemnity Agreement”). The terms of
the Indemnity Agreement are incorporated by reference into this Engagement Letter. In no event
will SOLIC’s liability in connection with this Engagement Letter exceed the total fees paid to
SOLIC hereunder. In no event shall SOLIC, the Company or their respective personnel be liable
for consequential, special, indirect, incidental, punitive or exemplary loss, damage or expense
relating to this Engagement.

7. Successors and Assigns. This Engagement Letter shall be binding upon and inure to the benefit
of the parties hereto, their respective successors and assigns. Neither party may delegate or
assign its rights or obligations under this Engagement Letter without the written consent of the
other party.

8. Review. The services to be provided by SOLIC hereunder will not constitute (a) a fairness or
solvency opinion or (b) a compilation, examination, review or audit of any entity’s information,
financial or otherwise, historical or prospective, as described in the pronouncements on
professional standards issued by the American Institute of Certified Public Accountants. In
addition, SOLIC does not make any predictions or provide any opinions or other assurances
concerning the outcome of future events, including, without limitation, those that pertain to the
operating results of any entity, the achievability of any business plan, the success of any
investment, the recovery of any asset, or the ability to pay any debt. SOLIC reserves the right to

@ issue a tombstone announcement with respect to SOLIC’s involvement in connection with the
Engagement consistent with the Order.

9. Limitations. This Engagement Letter does not create, and will not be construed as creating, rights
enforceable by any person or entity not a party hereto, except those entitled thereto by virtue of
the Indemnity Agreement. The Company acknowledges and agrees that (a) SOLIC will act as an
independent contractor and is being retained solely to assist the Company and the Disinterested
Directors and, unless separately requested by the Company, that SOLIC is not being retained to
provide a formal opinion as to any possible restructuring or outcome, (b) nothing in this
Engagement Letter or in the nature of services in connection with the Engagement or otherwise
shall be deemed to create a fiduciary duty or fiduciary or agency relationship between SOLIC
and the Company, or any other party, (c) SOLIC is a professional advisor to the Company and is
not and will have no duties or liabilities to the equityholders or creditors of the Company, any
affiliate of the Company or any other person by virtue of this Engagement Letter and the
retention of SOLIC hereunder (other than as set forth herein), all of which duties and liabilities
are hereby expressly waived, and (d) any advice rendered by SOLIC does not constitute a
recommendation to any creditor or stakeholder that such creditor or stakeholder might or should
take in connection with a possible restructuring; provided, however, this clause (d) shall not
apply to the advice rendered by SOLIC to the Disinterested Directors as part of the services
provided under the terms of this Engagement Letter. Neither equityholders nor creditors of the
Company are intended beneficiaries hereunder. The Company recognizes and acknowledges
that by performing the services set forth in this Engagement Letter, SOLIC is not acting in any
management capacity and that Company has not requested SOLIC to make, nor has SOLIC
agreed to make, any business decisions on behalf of the Company. All decisions about the

@ business of the Company remain the sole responsibility of the Company (and to the extent
applicable, the Disinterested Directors). The Company and each Disinterested Director hereby

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10.

11.

14.

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13.

expressly acknowledges that SOLIC does not guarantee, warrant, or otherwise provide any
assurances that the Company will restructure successfully. SOLIC is not a law, accounting, tax,
or actuarial firm and will not be providing any legal, accounting, tax advice, or actuarial services
hereunder. In addition, the Company confirms that it will rely on its own counsel for legal
advice. SOLIC’s services are not designed, nor should they be relied upon, to disclose internal
weaknesses in internal controls, financial statement errors, irregularities, illegal acts or disclosure

deficiencies.

Counterparts. This Engagement Letter, and any modification or amendment thereto, may be
executed in counterparts, each of which will be deemed an original and all of which will
constitute one and the same instrument.

Notices. All correspondence and notices shall be sent to the parties as listed hereafter or to such
other persons or addresses as may be given by one party to the other, and will be deemed

effective the earlier of actual delivery or three days after mailing.

Personal and Confidential

The Honorable Donald L. Evans
Executive Chairman

Energy Future Holdings Corp.
1601 Bryan St., 41st Floor
Dallas, Texas 75201

with a copy to:

General Counsel

Energy Future Holdings Corp.
1601 Bryan St., 41st Floor
Dallas, Texas 75201

Neil F. Luria

Senior Managing Director
SOLIC Capital Advisors, LLC
1603 Orrington Avenue

Suite 1600

Evanston, IL 60201

Entire Agreement. This Engagement Letter is the entire agreement between the parties
pertaining to its or their subject matter and supersedes all prior agreements, representations and
understandings of the parties. No modification of this Engagement Letter shall be binding unless
agreed to in writing by the parties.

Retention Application. The Company agrees to file the necessary retention applications in the
Bankruptcy Court in order to properly retain SOLIC in accordance with the terms set forth in this
letter.

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If this Engagement Letter meets with your approval, please indicate your consent and agreement to be
bound by the terms of this Engagement Letter by executing the attached copy and forwarding it to me.

Very truly yours,

SOLIC CAPITAL ADVISORS, LLC

By: /s/ Neil F. Luria
Neil F. Luria
Senior Managing Director

ACKNOWLEDGED AND AGREED:

ENERGY FUTURE HOLDINGS CORP.

By: /s/ Donald L. Evans
Donald L. Evans
Executive Chairman
Board of Directors
Energy Future Holdings Corp.

Date: December 18, 2014

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Exhibit “A” (to Engagement Letter)

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The following recitals and resolutions supplement the Board of Directors Resolutions dated as of
November 7, 2014 (“November 7th Resolutions”) and, in the event of any inconsistency, these
resolutions shall supersede and control.

WHEREAS, EFH and certain of its direct and indirect subsidiaries (excluding Oncor Electric Delivery
Holdings Company LLC and its subsidiaries), including TCEH (the “Debtors”) on April 29, 2014,
filed voluntary petitions for relief under chapter 11 of title 11 of the United States Code (“Chapter 11
Case”) in the Bankruptcy Court for the District of Delaware (“Bankruptcy Court”);

WHEREAS, the members of the Board of Directors of EFH (“Board”) having relationships or interests
with other affiliated or related companies and their direct or indirect equity holders and other

material relationships have disclosed certain facts that they believe to be material to the Board;

WHEREAS, as described in the material presented and reviewed by the Board and based on a review

of the known facts and circumstances, the Board has determined and confirmed by the November 7th

Resolutions that Donald L. Evans and Billie I. Williamson are the only current members of the Board
that are disinterested with respect to any matter pertaining to the Chapter 11 Case on which an actual
conflict exists between EFH, on the one hand, and any other Debtor, on the other hand (“Conflict
Matters”), and were designated the Disinterested Directors (“Disinterested Directors”) as set forth in
Stipulation and Agreed Order Regarding a Protocol for Certain Case Matters, approved by the Bankruptcy

Court on September 16, 2014 (“Stipulation”);

WHEREAS, the members of the Board considered the Stipulation related to, among other things, the
authority of the Disinterested Directors to retain independent legal counsel and other advisors under
certain circumstances;

WHEREAS, the Board resolved by the November 7th Resolutions to delegate the authority to the
Disinterested Directors to seek and retain, at EFH’s sole expense, independent legal counsel and such
other advisors (“Independent Advisors”) as the Disinterested Directors deem necessary to represent
and advise EFH, reporting to the Disinterested Directors, on the Conflict Matters;

WHEREAS, the Disinterested Directors interviewed and engaged certain Independent Advisors
effective as of November 19, 2014 to represent and advise EFH, and reporting solely to the
Disinterested Directors, as set forth herein; and

WHEREAS, pursuant to the Stipulation and Section 21.416 of the Texas Business Organizations Code,
the members of the Board desire to delegate to the Disinterested Directors certain rights, authority,
and powers in connection with Conflict Matters, among other matters set forth herein;

NOW, THEREFORE, BE IT,

RESOLVED that, to the fullest extent permitted by applicable law, the Board hereby delegates to the
Disinterested Directors the authority to review and act upon (as set forth herein) any Conflict
Matters; and further

RESOLVED that, to the fullest extent permitted by applicable law, the Board hereby delegates to the
Disinterested Directors the authority to investigate and determine whether any matter constitutes a
Conflict Matter, in the exercise of their business judgment and with the advice of the Independent
Advisors, and any such determination shall be binding on EFH and EFH’s subsidiaries (other than

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Energy Future Intermediate Holding Company LLC and its direct and indirect subsidiaries and
Energy Future Competitive Holdings Company LLC and its direct and indirect subsidiaries (the
“Excluded Subsidiaries”)); and further

RESOLVED that, to the fullest extent permitted by applicable law, the Board hereby delegates to the
Disinterested Directors the authority to make all decisions, and to implement or direct the
implementation of all such decisions, in each case on EFH’s behalf, with respect to Conflict Matters as
the Disinterested Directors deem appropriate, in the exercise of their business judgment and with the
advice of the Independent Advisors or others with whom the Disinterested Directors determine it is
appropriate or necessary to consult, and to act on behalf of and bind EFH in connection therewith,
including taking action on EFH’s behalf, as the direct and indirect holder of 100% of the equity
interests in its subsidiaries, causing such subsidiaries (other than the Excluded Subsidiaries) to abide
by and implement the decisions and actions of the Disinterested Directors with respect to Conflict
Matters and the Disinterested Directors’ determination of whether a matter constitutes a Conflict
Matter; and further

RESOLVED that the Disinterested Directors will update the Board at board meetings on the status of
their (i) review of and decisions on whether any matter constitutes a Conflict Matter, and (ii) review
of and decisions.on Conflict Matters, in each case in the manner that the Disinterested Directors
determine is appropriate and necessary to fulfill their duties and obligations as the Disinterested
Directors, taking into account the confidentiality or privilege of the Disinterested Directors’ work and
the advice of the Independent Advisors; and further

RESOLVED that EFH shall, as the direct and indirect holder of 100% of the equity interests in its
subsidiaries, direct and cause each of such subsidiaries (other than the Excluded Subsidiaries) to
abide by and comply with these resolutions; and further

RESOLVED that the officers, employees, advisors and agents of EFH (collectively, the “Authorized
Persons”), acting alone or with one or more other Authorized Persons, be, and hereby are, directed to
furnish ‘to the Disinterested Directors and the Independent Advisors all information as the
Disinterested Directors or the Independent Advisors may request, in a manner that shall not effect a
waiver of any applicable privilege, and to cooperate with the Disinterested Directors and the
Independent Advisors in all respects; and further

RESOLVED that any Authorized Person, acting alone or with one or more other Authorized Persons
be, and hereby are, authorized, empowered and directed to implement any decision made by the
Disinterested Directors in respect of a Conflict Matter on behalf of EFH as directed by the
Disinterested Directors; provided that the Disinterested Directors retain the right to implement any
such decision on behalf of EFH and its subsidiaries (other than the Excluded Subsidiaries) themselves
or through the Independent Advisors; and further

RESOLVED that any Authorized Person, acting alone or with one or more other Authorized Persons
be, and they hereby are, authorized, empowered and directed to take any and all action that they
deem necessary or proper to assist the Disinterested Directors in carrying out the foregoing, in each
case as requested by and under the direction of the Disinterested Directors; and further

RESOLVED that the Disinterested Directors shall control any attorney-client, work product, or other
privilege belonging to EFH in connection with the Independent Advisors or their work or privileged
communications on the Conflict Matters and on whether any matter constitutes a Conflict Matter;
and further

RESOLVED that each member of the Board has agreed and hereby agrees that he or she shall not
have access to, and shall not seek access to, and hereby directs that each Authorized Person shall not
have access to and shall not seek access to, the work or privileged material of the Independent

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Advisors on the Conflict Matters or on whether any matter constitutes a Conflict Matter, except as
permitted by the Disinterested Directors; and further

RESOLVED that the Disinterested Directors be, and hereby are, authorized to take all such further
action, at EFH’s expense, as the Disinterested Directors shall deem necessary, proper or advisable
consistent with these resolutions or in order to carry out fully the intent and purposes of these
resolutions; and further

RESOLVED that all actions previously done or approved, or caused to be done or approved, by the
Disinterested Directors or the Authorized Persons, including the retention of Independent Advisors,
in each case only to the extent consistent with these resolutions, or to otherwise carry out the intent of
these resolutions, be and hereby are approved, adopted, confirmed and ratified in all respects.

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Exhibit “B” (to Engagement Letter)
Wiring Instructions

Please direct wire to:

Account Name: SOLIC Capital Advisors, LLC

Account Number: 3800869411

Bank: Northern Trust Bank

Address: 50 S. LaSalle, Chicago, IL 60675

ABA#: 071000152

SWIFT: CNORUS44
Beneficiary Name: SOLIC Capital Advisors, LLC

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Exhibit “C” (to Engagement Letter)

Standard Hourly Rates

Senior Managing Directors $750-895/hr
Managing Directors $695-825/hr
Directors $550-695/hr
Associate Directors $450-550/hr
Managing Consultants $350-450/hr
Consultants/Associates $245-350/hr
Paraprofessionals $95-125/hr

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Exhibit “D” (to Engagement Letter)

December 18, 2014

SOLIC Capital Advisors, LLC
1603 Orrington Avenue

Suite 1600

Evanston, IL 60201

Ladies and Gentlemen:

This agreement will confirm that Energy Future Holdings Corp. (the “Company”), has engaged SOLIC
Capital Advisors, LLC (“SOLIC”) to advise and assist it in connection with the matters referred to in our
engagement letter, dated of even date herewith (the “Engagement Letter”). Capitalized terms used
herein without definition shall have the meanings ascribed to them in the Engagement Letter. In
connection with the terms of the Engagement Letter (the “Engagement”), the Company agrees to
indemnify and hold harmless SOLIC and its affiliates and their respective members, officers, directors,
employees and agents and each other person, if any, controlling SOLIC or any of its affiliates and their
respective successors, assigns, independent contractors, agents, heirs and personal representatives (each
referred to herein as a “ SOLIC Indemnified Person”) to the fullest extent permitted by law from and
against any losses, claims, damages, obligations, penalties, judgments, awards, costs, disbursements or
liabilities, including amounts paid in settlement (collectively, “Losses”), based upon, related to, arising
out of or in connection the Engagement and will reimburse each SOLIC Indemnified Person for all
expenses (including fees and expenses of counsel) (“Expenses”) as they are incurred in connection with
investigating, preparing, pursuing or defending any action, claim, suit, investigation, or proceeding
related to, arising out of or in connection with the Engagement, whether or not pending or threatened
and whether or not any SOLIC Indemnified Person is a party. Notwithstanding the foregoing, (i) in no
event shall the Company be responsible for any Losses or Expenses that arise out of or in connection with
the Engagement to the extent such Losses or Expenses are finally judicially determined to have resulted
from the willful misconduct, bad faith or gross negligence of SOLIC or any other SOLIC Indemnified
Person and (ii) if any SOLIC Indemnified Person to whom such Expenses have been advanced shall be
determined pursuant to clause (i) to not be eligible for reimbursement of such Expenses, such SOLIC
Indemnified Person shall promptly repay such expenses to the Company. If any litigation, investigation
or proceeding is commenced as to which SOLIC proposes to demand indemnification, SOLIC will notify
the Company with reasonable promptness; provided, however, that any failure by SOLIC to notify the
Company will relieve the Company from their obligations hereunder only to the extent the Company
have been materially prejudiced by such failure or delay.

The Company will, if requested by any SOLIC Indemnified Party, assume the defense of any proceeding
in respect of which indemnity may be sought hereunder, including the employment of counsel
reasonably satisfactory to SOLIC and the payment of the fees and expenses of such counsel, in which
event, except as provided below, the Company shall not be liable for the fees and expenses of any other
counsel retained by any SOLIC Indemnified Party in connection with such proceeding. In any such
proceeding the defense of which the Company shall have so assumed, any SOLIC Indemnified Party shall
have the right to participate in such Proceeding and to retain its own counsel, but the fees and expenses
of such counsel shall be at the expense of such SOLIC Indemnified Party unless (i) the Company and such

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SOLIC Indemnified Party shall have mutually agreed in writing to the retention of such counsel or (ii) the
named parties to any such proceeding (including any impleaded parties) include such SOLIC
Indemnified Party and representation of the Company and such SOLIC Indemnified Party by the same
counsel would, in the opinion of counsel to such SOLIC Indemnified Party, be inappropriate due to
actual or potential conflicts of interests between the Company and such SOLIC Indemnified Party,
including situations in which there are one or more legal defenses available to the SOLIC Indemnified
Party that are different from or additional to those available to the Company. The Company shall not be
liable for any settlement of any proceeding effected without its written consent, such consent not to be
unreasonably withheld, but if settled with such consent or if there is a final judgment against an SOLIC
Indemnified Party, the Company agrees to indemnify the SOLIC Indemnified Party from and against any
Loss by reason of such settlement or judgment.

if, for any reason, the foregoing indemnification is unavailable to any of the SOLIC Indemnified Parties or
is insufficient to hold them harmless in respect of any Losses or Expenses, then the Company will
contribute to the amount paid or payable by any of the SOLIC Indemnified Parties as a result of such
Losses and Expenses in such proportion as is appropriate to reflect the relative benefits (or anticipated
benefits) to the Company and the Disinterested Directors on the one hand and the SOLIC Indemnified
Parties on the other hand, but also the relative fault of the Company and the Disinterested Directors, and
their shareholders, members, agents and advisers (other than SOLIC) on the one hand and the SOLIC
Indemnified Parties on the other hand, as well as any other relevant equitable considerations. The
relative benefits received (or anticipated to be received) by the Company and the Disinterested Directors
on the one hand and by the SOLIC Indemnified Parties on the other hand will be deemed to be in the
same proportion as such benefit bears to the total fees paid to SOLIC pursuant to the Engagement Letter.
The relative fault of any party or other person will be determined by reference to such party’s or person’s
knowledge, access to information and opportunity to prevent or correct any misstatement, omission,
misconduct or breach of duty. In no event will the amount required to be contributed by the SOLIC
Indemnified Parties hereunder exceed the total amount of fees paid to SOLIC pursuant to the
Engagement Letter. You and we agree that it would not be just and equitable if contribution were
determined by pro rata allocation or by any other method of allocation which does not take account of the
equitable considerations referred to above.

The reimbursement, indemnity and contribution obligations of the Company hereunder will (i) be in
addition to any liability which the Company may otherwise have, (ii) survive the completion or
termination of SOLIC’s engagement under the Engagement Letter and (iii) shall be binding upon any
successors and assigns of the Company.

The Company agree that without the prior written consent of SOLIC, the Company will not consent,
settle, compromise, consent to the entry of any judgment in or otherwise seek to terminate any action,
claims, suit or proceeding in respect of which indemnification may be sought hereunder (whether or not
any SOLIC Indemnified Person is a party thereto) unless (i) such settlement, compromise, consent or
termination includes an unconditional release of each SOLIC Indemnified Person from all claims and
liabilities arising out of such action, claim, suit or proceeding and (ii) there is no statement in connection
therewith as to an admission of fault, culpability or failure to act by or on behalf of any SOLIC
Indemnified Party.

The provisions of this agreement shall apply to the Engagement and any modification thereof and shall
remain in full force and effect regardless of any termination or the completion of your services under the
Engagement Letter.

This agreement will be deemed made in New York. The validity and interpretation of this agreement

will be governed by, and construed and enforced in accordance with, the laws of the State of New York
applicable to agreements made and to be fully performed therein (excluding the conflicts of laws rules).

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So long as the Case (as that term is defined in the Engagement Letter) is open, the Company and SOLIC
irrevocably submit to the jurisdiction of the Bankruptcy Court with respect to any suit, action or
proceeding arising out of the Engagement. However, once the Case is closed, the Company irrevocably
submit to the jurisdiction of any court of the State of New York or the United States District Court of the
Southern District of the State of New York (Manhattan Division) for the purpose of any suit, action or
other proceeding arising out of this agreement which is brought by or against the Company. Each of the
Company and SOLIC hereby knowingly, voluntarily and irrevocably waives any right it may have to a
trial by jury in respect of any claim based upon, arising out of or in connection with this agreement.

Very truly yours,

ENERGY FUTURE HOLDINGS CORP.

By: /s/ Donald L. Evans
Name: Donald L. Evans
Title: Executive Chairman
Board of Directors
Energy Future Holdings Corp.

Date: December 18, 2014

Accepted and agreed to:

SOLIC CAPITAL ADVISORS, LLC

By: /s/ Neil F. Luria
Neil F. Luria
Senior Managing Director

Date: December 18, 2014

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